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                           UNITED STATES DISTRICT COURT

                                DISTRICT OF NEW JERSEY

THE BIANCHI LAW GROUP, LLC
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Attorneys for Defendant Steven Bradley Mell
______________________________
UNITED STATE OF AMERICA, :                Hon. BRIAN R. MARTINOTTI, U.S.D.J.
                                    :
       vs.                          :     Criminal No. 3:18-CR00757-1
                                    :
STEVEN BRADLEY MELL,                :
                                    :     SENTENCING SUBMISSION
                      Defendant. :        NOTICE OF DEFENDANT
______________________________:
                                          Document Electronically Filed



       PLEASE BE ADVISED that on May 15, 2019 defendant Steven Bradley Mell submitted

sentencing materials to the Court in the above-captioned matter.




                                     THE BIANCHI LAW GROUP, LLC
                                     Attorneys for Defendant Steven Bradley Mell

                                     By: _/s/Robert A. Bianchi_____________
                                             ROBERT A. BIANCHI, ESQ.


Date: May 15, 2019
